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                             UNITED STATES COURT OF APPEALS
                                            for the
                                      SECOND CIRCUIT
                         ____________________________________________

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
the 17th day of June, two thousand twenty-three,

____________________________________

Structured Asset Sales, LLC,                                ORDER
                                                            Docket No: 23-905
lllllllllllllllllllllPlaintiff - Appellant,

v.

Edward Christopher Sheeran, personally known as Ed
Sheeran, Sony/ATV Music Publishing, LLC, Atlantic
Recording Corporation, DBA Atlantic Records, BDi
Music Ltd., Bucks Music Group Ltd., The Royalty
Network, Inc., David Platz Music (USA) Inc., Amy
Wadge, Jake Gosling,

lllllllllllllllllllllDefendants - Appellees,


Ed Sheeran Limited, Gingerbread Man Records, Amy
Wadge Records, Sticky Studios, Sony/ATV Music
Publishing, LTD. UK, Atlantic Records UK, BDi Music,
Bucks Music Group, Warner Music Group Corporation,
DBA Asylum Records, Warner Music Group, LTD UK,
Does 1-10,

lllllllllllllllllllllDefendants.
_______________________________________



       Counsel for APPELLANT has filed a scheduling notification pursuant to the Court's
Local Rule 31.2, setting September 29, 2023 as the brief filing date.

       It is HEREBY ORDERED that Appellant's brief must be filed on or before September
29, 2023. The appeal is dismissed effective September 29, 2023 if the brief is not filed by that
date.
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A motion to extend the time to file the brief or to seek other relief will not toll the filing date. See
Local Rule 27.1(f)(1); cf. RLI Insurance Co. v. JDJ Marine, Inc., 716 F.3d 41, 43-45 (2d Cir.
2013).


                                                         For The Court:
                                                         Catherine O'Hagan Wolfe,
                                                         Clerk of Court
